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                                   PLAINTIFF’S SEPTEMBER 13, 2019

                          (“F.R.C.P.”)
    JUDGE RONNIE ABRAMS’ PRETENSIONS, CRIMINAL INDIFFERENCE TO


    , AND COLLUSION WITH THE DEFENDANTS’ FRAUDULENT ACTS RELATE



IN RETALIATION TO THE PLAINTIFF’S FILING OF CRIMINAL CHARG
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                  Supreme


“The Due Process Clause guarantees more than fair process, and the “liberty” it protects includes more than
                                                                                                         –1069,
                                             se “protects individual liberty against ‘certain government actions
regardless of the fairness of the procedures used to implement them’ ”) (quoting


301–302, 113 S.Ct. 1439, 1446–                                          505 U.S., at 851, 112 S.Ct.           –


are, objectively, “deeply rooted in this Nation's history and tradition,”
                                     291 U.S. 97, 105, 54 S.Ct. 330, 332, 78 L.Ed. 674 (1934) (“so rooted in
                                                                 fundamental”), and “implicit in the concept of
ordered liberty,” such that “neither liberty nor justice would exist if they were sacrificed,”

the Fourteenth Amendment “forbids the government to infringe ... ‘fundamental’ liberty interests             no

interest.” 507 U.S., at 302, 113 S.Ct., at 1447.”

                                                –21, 117 S. Ct. 2258, 2267–



                  Supreme
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to punish manufactured crime dictatorially is the handmaid of tyranny




             States, 348 U.S. 11,



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                                                      stringent




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